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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

DEMI KOSTKA, individually and on behalf          )
of all others similarly situated,                )      CASE NO. 3:20-cv-3424
                                                 )
                            Plaintiff,           )
                                                 )      CLASS ACTION COMPLAINT
            v.                                   )
                                                 )
DICKEY’S BARBECUE RESTAURANTS,                   )
INC.,                                            )
                                                 )
                            Defendant.           )      JURY TRIAL DEMANDED
                                                 )
                                                 )
                                                 )
                                                 )


       Plaintiff Demi Kostka (“Plaintiff”), individually and on behalf of all others similarly

situated, upon personal knowledge of facts pertaining to herself and on information and belief as

to all other matters, by and through undersigned counsel, brings this Class Action Complaint

against Defendant Dickey’s Barbecue Restaurants, Inc. (“Dickey’s” or “Defendant”).

                                  NATURE OF THE ACTION

       1.        Plaintiff brings this action, individually and on behalf of all others similarly

situated whose private and confidential financial information, including credit card and debit

card numbers, expiration dates, cardholder names, internal card verification codes, and other

payment card information (collectively, “Card Information”) was compromised in a massive

security breach of Dickey’s computer servers and payment card environment (the “Data

Breach”).

       2.        As a result of the Data Breach, leading cybersecurity expert Krebs on Security

(“Krebs”) reports that highly sensitive consumer card information for an estimated 3 million
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payment cards used at Dickey’s restaurant locations during the Data Breach are available for

purchase on the notorious dark web commerce site Joker’s Stash.1 As a result of the Data Breach,

Plaintiff and these similarly situated consumers have had their highly sensitive Card Information

exposed to criminals.

       3.     An initial statement offered by Dickey’s on October 15 contained very little detail

about the Data Breach. The company merely identified:

       We received a report indicating that a payment card security incident may have
       occurred. We are taking this incident very seriously and immediately initiated our
       response protocol and an investigation is underway. We are currently focused on
       determining the locations affected and time frames involved. We are utilizing the
       experience of third parties who have helped other restaurants address similar
       issues and also working with the FBI and payment card networks. We understand
       that payment card network rules generally provide that individuals who timely
       report unauthorized charges to the bank that issued their card are not responsible
       for those charges.2

       4.     Early reports from leading cyber intelligence firms Gemini Advisory and

Q6Cyber indicate that the breach is massive in scope and duration. Gemini indicated that 156

Dickey’s locations across 30 states likely had payment systems compromised, and that the

window of exposure is 13 months, from July 2019 to August 2020.3 Q6Cyber’s report identified

that the window may be even longer, from May 2019 through September 2020, or 17 months.4




1
   Breach at Dickey’s BBQ Smokes 3M Cards, KREBSONSECURITY (Oct. 20, 2020),
https://krebsonsecurity.com/2020/10/breach-at-dickeys-bbq-smokes-3m-cards/.
2
  Id.
3
  Id.
4
  Id.


                                               2
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       5.      While no reports have issued from Dickey’s yet confirming the window or

magnitude of the Data Breach, a recent ZDNet article has tallied the total number of locations, by

state, identified as being impacted by the Data Breach in the chart below5:




       6.      As alleged herein, Dickey’s’ failure to implement adequate data security measures

to protect its customers’ sensitive Card Information directly and proximately caused injuries to

Plaintiff and class members.

       7.      The Data Breach was the inevitable result of Dickey’s’ inadequate data security

measures and cavalier approach to data security. Despite the well-publicized and ever-growing

threat of security breaches involving payment card networks and systems, and even though these

types of data breaches were and are occurring frequently throughout the restaurant and retail



5
  Catalin Cimpanu, Card details for 3 million Dickey's customers posted on carding forum,
ZDNET (Oct. 15, 2020), https://www.zdnet.com/article/card-details-for-3-million-dickeys-
customers-posted-on-carding-forum/.


                                                3
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industries, Dickey’s failed to ensure that it maintained adequate data security measures to protect

customer Card Information from criminals.

          8.    As a direct and proximate result of Dickey’s cavalier conduct and data security

negligence, a massive amount of customer information was stolen from Dickey’s and exposed to

criminals. Victims of the Data Breach have had their sensitive Card Information compromised,

had their privacy rights violated, face an increased risk of fraud and identify theft, lost control

over their personal and financial information, and otherwise have been injured.

          9.    Moreover, Plaintiff and class members have been forced to spend significant time

associated with, among other things, closing out and opening new credit or debit card accounts,

ordering replacement cards, obtaining fraud monitoring services, losing access to cash flow and

credit lines, monitoring credit reports and accounts, purchasing identity theft insurance, and/or

other losses resulting from the unauthorized use of their cards or accounts.

          10.   Dickey’s has not offered meaningful assistance to consumers to help deal with the

fraud that has and will continue to result from the Data Breach. In contrast to what has been

frequently made available to consumers in other data breaches, Dickey’s has not offered or

provided any credit monitoring service or fraud insurance to date, and has failed to provide

Plaintiff and class members with notice of the breach

          11.   Plaintiff and class members seek to recover damages caused by Dickey’s

negligence, negligence per se, breach of implied contract, and unjust enrichment. Additionally,

Plaintiff seeks declaratory and injunctive relief as a result of the conduct of Dickey’s discussed

herein.




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                                     I.      PARTIES

       A.      Plaintiff Demi Kostka

       12.     Plaintiff Demi Kostka is an adult citizen of Florida, residing in Gulf Breeze, Santa

Rosa County, Florida.

       B.      Defendant Dickey’s Barbecue Restaurants, Inc.

       13.     Defendant Dickey’s, Barbecue Restaurants, Inc. is corporation that is incorporated

in Texas and maintains its principal place of business at 18583 North Dallas Pkwy, Suite 120,

Dallas, Texas 75287. It can be served through its registered agent for service: C T Corporation

System, 1999 Bryan St., Ste. 900, Dallas, TX 75201-3136.

       14.     Dickey’s is a family-owned franchise that operates smoked-meat and barbecue

restaurant locations called Dickey’s Barbecue Pit. The restaurant franchise has 469 locations

across 42 states, including, notably, 123 locations in Texas, 77 locations in California, 26

locations in Arizona, and 21 locations in Colorado.

                         II.     JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332, as

amended by the Class Action Fairness Act of 2005, because the matter in controversy exceeds $5

million, exclusive of interest and costs, and is a class action in which some members of the class

are citizens of states different than Dickey’s. See 28 U.S.C. § 1332(d)(2)(A).

       16.     This Court has general personal jurisdiction over Dickey’s. Dickey’s has

systematic and continuous contacts with the state of Texas. Dickey’s is a Texas corporation and

maintains its principal place of business in Texas. Dickies also operates over 100 Dickey’s

locations in Texas and conducts substantial business within this judicial district.

       17.     Venue properly lies in this district pursuant to 28 U.S.C. § 1391(b) because

Dickey’s has corporate headquarters in this district and is thus deemed to reside in this district;

                                                 5
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Dickey’s conducts substantial business in this district; and a substantial part of the events and/or

omissions giving rise to the claims occurred, in part, within this district.

                           III.    FACTUAL ALLEGATIONS

       18.     On August 10, 2020, during the window of the Data Breach, Ms. Kostka used her

Wells Fargo debit card to make a $43.61 purchase at the Dickey’s location at 1480 Tiger Park

Lane, Gulf Breeze, Florida.

       19.     On November 13, 2020, Ms. Kostka discovered that a criminal had used her

Wells Fargo debit card information to make an unauthorized $24.95 purchase in South

Hackensack, New Jersey. Ms. Kostka suffered actual, palpable fraud due to the Data Breach.

Prior to experiencing this fraud, Ms. Kostka never suffered fraud on her Wells Fargo debit card,

and she never received notice that she had been impacted by another data breach impacting her

debit card.

       20.     After discovering the fraudulent charge, Ms. Kostka turned off her debit card and

called Wells Fargo to file a claim regarding the fraud on her debit card. Wells Fargo immediately

cancelled Ms. Kostka’s debit card upon being advised of the fraudulent activity. Ms. Kostka is

currently without the ability to use her debit card, which is the main bank account she uses to pay

day-to-day expenses.

       21.     To date Ms. Kostka is still waiting for a replacement debit card, and does not have

immediate access to her Wells Fargo debit card account and funds.

       22.     Dickey’s has not provided direct notice of the Data Breach to Ms. Kostka.

       23.     As a result of being victimized by the Data Breach, Ms. Kostka was also required

to spend a significant amount of time addressing fraud concerns related to her compromised




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card. To date, Ms. Kostka has spent 3 to 4 hours of time calling her bank and continuously

monitoring her accounts for fraudulent activity.

            24.   Had Ms. Kostka known that Dickey’s would not adequately protect her Card

Information and other sensitive information entrusted to it, she would not have made a purchase

at Dickey’s using her payment card.

            25.   As a result of Dickey’s’ failure to adequately safeguard Plaintiff Kostka’s Card

Information, she has been injured

            A.    The Dickey’s Data Breach

            26.   Dickey’s Barbecue Pit, the largest barbecue restaurant chain in the United States,

suffered a massive data breach between July 2019 and August 2020.

            27.   The Dallas-based franchise has 469 locations (411 of which are currently open

during the pandemic) across 42 states.

            28.   Dickey’s reportedly was alerted about the breach days before on October 13, 2020

by Krebs.6

            29.   According to Krebs, credit card and debit card information for more than 3

million of Dickey’s customers is now being sold on the dark web—an underground part of the

internet accessed by an anonymizing browser and that is not indexed by search engines, where

rampant illegal commerce occurs (e.g., buying and selling stolen card, subscription, and account

information/credentials; buying and selling drugs, guns, counterfeit money). The card data stolen

during the Data Breach is reportedly being offered for sale on a well-known website called




6
    Id.


                                                   7
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Joker’s Stash, where the cache of stolen, for-purchase payment card information is listed as the

“BlazingSun” breach, with card data available for $17 apiece.7

          30.   Multiple companies that track the sale in stolen payment card data say that they

have confirmed with card-issuing financial institutions that the accounts for sale in the

BlazingSun batch have one common theme: all of them were used at various Dickey’s BBQ

locations over the past 13 to 15 months.8

          31.   Although Dickey’s has not confirmed whether the Data Breach exposed credit

and debit card numbers, cardholder names, and card expiration dates, the cache of data available

for sale on Joker’s Stash makes clear that this level of information involving customers’ credit

and debit card information was certainly stolen from Dickey’s as part of the Data Breach.

          32.   Dickey’s has also not confirmed the scope or magnitude of the breach, but early

reports from leading cyber intelligence firms Gemini Advisory and Q6Cyber indicate that 156

Dickey’s locations across 30 states likely had payment systems compromised. While Gemini

reports that the window of exposure is 13 months, from July 2019 to August 2020, Q6 separately

reported that the breach window may be as long as 17 months, from May 2019 to September

2020.9

          33.   As is typical with payment card data breaches, the Data Breach was most likely

the result of malware that criminals routinely use in payment card breaches. According to the

Krebs report, “Gemini says its data indicated some 156 Dickey’s locations across 30 states likely




7
  Id.
8
  Id.
9
  Id.


                                                8
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had payment systems compromised by card-stealing malware, with the highest exposure in

California and Arizona.”10

       34.     Gemini further indicated:

       Dickey’s operates on a franchise model, which often allows each location to
       dictate the type of point-of-sale (POS) device and processors that they utilize . . .
       However, given the widespread nature of the breach, the exposure may be linked
       to a breach of the single central processor, which was leveraged by over a quarter
       of all Dickey’s locations.11

       35.     According to Gemini Advisory researchers, based on previous major breaches

uploaded to Joker’s Stash, the records from Dickey’s Barbecue Pit will likely continue to be

added to this marketplace over the next several months.12

       36.     Q6Cyber’s CEO Eli Dominitz identified that “[t]he financial institutions we’ve

been working with have already seen a significant amount of fraud related to these cards.”13

       37.     No statements or press issued by Dickey’s to date give any indication as to the

actual magnitude of the Data Breach, including confirmation of the number of stores impacted or

the actual number of customers and cards affected. Dickey’s has provided virtually no details

surrounding the breach that would allow consumers to protect themselves against payment card

fraud and identity theft.

       38.     Warren Poschman, senior solutions architect with data-security company

Comforte AG, says that store merchants like Dickey’s need to require the use of secure

connections—from the point-of-sale device to the backend—using point-to-point encryption



10
   Id.
11
   Id.
12
   Lindsey O’Donnell, Dickey’s BBQ Breach: Meaty 3M Payment Card upload Drops on Joker’s
Stash, threatpost (Oct. 16, 2020), https://threatpost.com/dickeys-bbq-breach-jokers-
stash/160211/.
13
   Breach at Dickey’s BBQ Smokes 3M Cards, KREBSONSECURITY supra note 1.


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tokenization. Mr. Poschman further stressed that backend payment processors (and the

merchants that outsource to them) must also tokenize all data to ensure that any breach will not

result in exposure.14

        39.    According to Poschman, the Dickey’s BBQ Data Breach reminds us that “there is

still plenty of meat on the bone of credit card fraud despite the dramatic shift in coverage to

privacy and identity theft.” And the pandemic is no excuse for negligent security safeguards,

says Poschman: “With COVID-19 pushing businesses in the fast-casual restaurant segment to the

brink, attackers are taking advantage of lax security while many are in survival mode. Regardless

of the ill timing, organizations need to ensure that every step in the payment cycle is secured

from acquisition to settlement.”15

        B.     Industry Standards and the Protection of Customer Card
               Information

        40.    It is well known in the retail industry that sensitive Card Information is valuable

and frequently targeted by hackers. In a recent article, Business Insider noted that “[d]ata

breaches are on the rise for all kinds of businesses, including retailers. . . . Many of them were

caused by flaws in payment systems either online or in stores.”16

        41.    Despite the known risk of POS malware intrusions and the widespread publicity

and industry alerts regarding other notable (similar) data breaches, Dickey’s failed to take

reasonable steps to adequately protect its computer systems and payment card environment from

being breached, and then failed to detect the Data Breach for many months.



14
   Lindsey O’Donnell, supra note 14.
15
   Id.
16
   Dennis Green and Mary Hanbury, If you bought anything from these 11 companies in the last
year, your data may have been stolen, BUSINESS INSIDER (Nov. 19, 2019),
https://www.businessinsider.com/data-breaches-retailers-consumer-companies-2019-1.


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        42.    Dickey’s is, and at all relevant times has been, aware that the Card Information it

maintains as a result of purchases made at its locations is highly sensitive and could be used for

nefarious purposes by third parties.

        43.    Dickey’s’ explicit statements in its Privacy Policy make clear that Dickey’s

recognized the importance of adequately safeguarding its customers’ sensitive Card Information

yet failed to take the steps necessary to protect that sensitive data. On its website, Dickey’s’

Privacy notice provides the following:

        Dickey’s Commitment to Privacy:

        At Dickey’s Barbecue Restaurants, Inc. (“Dickey’s”), we understand that our customers
        are concerned about the use of their personal information, and we respect our customer’s
        privacy. This Privacy Policy explains the steps we have taken to ensure that the personal
        information you submit to us is secure and kept confidential.17

        44.    Dickey’s is thus aware of the importance of safeguarding its customers’ Card

Information from the foreseeable consequences that would occur if its data security systems and

computer servers were breached.

        45.    Financial institutions and credit card processing companies have issued rules and

standards governing the basic measures that merchants must take to ensure that consumers’

valuable data is protected.

        46.    The Payment Card Industry Data Security Standard (“PCI DSS”) is a list of

twelve information security requirements that were promulgated by the Payment Card Industry

Security Standards Council. The PCI DSS list applies to all organizations and environments

where cardholder data is stored, processed, or transmitted, and requires merchants like Dickey’s

to protect cardholder data, ensure the maintenance of vulnerability management programs,

17
  Privacy Policy, DICKEY’S BARBECUE PIT, https://cms-www-dickeys-com-
development.s3.amazonaws.com/privacy_policy_4cb941a12c.pdf (last visited Oct. 20, 2020).


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implement strong access control measures, regularly monitor and test networks, and ensure the

maintenance of information security policies.

        47.     The twelve requirements of the PCI DSS are: (1) Install and maintain a firewall

configuration to protect cardholder data; (2) Do not use vendor-supplied defaults for system

passwords and other security parameters; (3) Protect stored cardholder data; (4) Encrypt

transmission of cardholder data across open, public networks; (5) Protect all systems against

malware and regularly update anti-virus software or programs; (6) Develop and maintain secure

systems and applications; (7) Restrict access to cardholder data by business need to know; (8)

Identify and authenticate access to system components; (9) Restrict physical access to cardholder

data; (10) Track and monitor all access to network resources and cardholder data; (11) Regularly

test security systems and processes; (12) Maintain a policy that addresses information security

for all personnel.18

        48.     Furthermore, PCI DSS sets forth detailed and comprehensive requirements that

must be followed to meet each of the twelve mandates.

        49.     Dickey’s was, at all material times, fully aware of its data protection obligations

in light of its participation in the payment card processing networks and its daily collection and

transmission of thousands of sets of Card Information.

        50.     Because Dickey’s accepted payment cards containing sensitive financial

information, it knew that its customers were entitled to and did in fact rely on it to keep that




18
   PCI DSS Quick Reference Guide: Understanding the Payment Card Industry Data Security
Standard    Version     3.2,   PCI SECURITY STANDARDS COUNCIL           (May    2016),
https://www.pcisecuritystandards.org/documents/PCIDSS_QRGv3_2.pdf?agreement=true&time
=1506536983345.


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sensitive information secure from would-be data thieves in accordance with the PCI DSS

requirements.

          51.   Additionally, according to the Federal Trade Commission (“FTC”), the failure to

employ reasonable and appropriate measures to protect against unauthorized access to

confidential consumer data constitutes an unfair act or practice prohibited by Section 5 of the

Federal Trade Commission Act of 1914 (“FTC Act”), 15 U.S.C. § 45. See, e.g., FTC v.

Wyndham Worldwide Corp., 799 F.3d 236, 248 (3d Cir. 2015); see also See Consumer Data

Protection: Hearing Before the Subcomm. on Commerce, Mfg. & Trade of the H. Comm. on

Energy & Commerce, 2011 WL 2358081, at *6 (June 15, 2011) (statement of Edith Ramirez,

Comm’r, FTC) (“[T]he Commission enforces the FTC Act’s proscription against unfair . . . acts .

. . in cases where a business[‘s] . . . failure to employ reasonable security measures causes or is

likely to cause substantial consumer injury.”); Data Theft Issues: Hearing Before the Subcomm.

on Commerce, Mfg. & Trade of the H. Comm. on Energy & Commerce, 2011 WL 1971214, at *7

(May 4, 2011) (statement of David C. Vladeck, Director, FTC Bureau of Consumer Protection)

(same).

          52.   In 2007, the FTC published guidelines that establish reasonable data security

practices for businesses. The guidelines note that businesses should protect the personal

customer information that they keep; properly dispose of personal information that is no longer

needed; encrypt information stored on computer networks; understand their network’s

vulnerabilities; and implement policies for installing vendor-approved patches to correct security

problems. The guidelines also recommend that businesses consider using an intrusion detection

system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating




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someone may be trying to hack the system; watch for large amounts of data being transmitted

from the system; and have a response plan ready in the event of a breach.

           53.   The FTC has also published a document, entitled “Protecting Personal

Information: A Guide for Business,” which highlights the importance of having a data security

plan, regularly assessing risks to computer systems, and implementing safeguards to control such

risks.19

           54.   The FTC has issued orders against businesses that failed to employ reasonable

measures to secure payment card data. These orders provide further guidance to businesses with

regards to their data security obligations.

           55.   Dickey’s was aware or should have been aware of FTC guidelines and other

guidance regarding data security.

           C.    Dickey’s Disregarded Industry Standards for Customer Data Security

           56.   Dickey’s is no stranger to security breaches. In 2015, Dickey’s experienced a

ransomware attack with a $6,000 extortion demand,20 thus Dickey’s had a heightened awareness

of the risk of security breaches.

           57.   Despite this, Dickey’s failed to upgrade and maintain its data security systems in a

meaningful way in order prevent data breaches. Dickey’s security flaws run afoul of industry

best practices and standards. More specifically, the security practices in place at Dickey’s are in

stark contrast and directly conflict with the PCI DSS core security standards.




19
   Protecting Personal Information: A Guide for Business, FEDERAL TRADE COMMISSION (Nov.
2011), https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-
information-guide-business.
20
   https://geminiadvisory.io/jokers-stash-breaches-dickeys/ (last visited Nov. 16, 2020).


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        58.    Had Dickey’s maintained its information technology systems (“IT systems”),

adequately protected them, and had adequate security safeguards in place, it could have

prevented the Data Breach.

        59.    As a result of FTC and other regulatory guidance, industry warnings, awareness

of industry best practices, the PCI DSS, and numerous well-documented restaurant and retail

(and other) data breaches, Dickey’s was alerted to the risk associated with failing to ensure that

its computer and payment card systems were adequately secured.

        60.    Dickey’s was not only aware of the threat of data breaches, generally, but was

aware of the specific danger of malware infiltration. Malware has been used recently to infiltrate

large retailers such as, inter alia, Wawa, Hy-Vee, Target, Sonic, GameStop, Chipotle, Jason’s

Deli, Whole Foods, Sally Beauty, Neiman Marcus, Michaels Stores, and Supervalu. As a result,

Dickey’s was aware that malware is a real threat and is a primary tool of infiltration used by

hackers seeking to carry out payment card breaches.

        61.    In addition to the publicly announced data breaches described above (among

many others), Dickey’s knew or should have known of additional warnings regarding malware

infiltrations from the U.S. Computer Emergency Readiness Team, a government unit within the

Department of Homeland Security, which alerted retailers to the threat of malware on July 31,

2014, and issued a guide for retailers on protecting against the threat of malware, which was

updated on August 27, 2014.21

        62.    Despite the fact that Dickey’s was on notice of the very real possibility of

consumer data theft associated with its security practices and that Dickey’s knew or should have

21
   See Alert (TA14-212A): Backoff Point-of-Sale Malware, U.S. COMPUTER EMERGENCY
READINESS TEAM (July 31, 2014) (revised Sept. 30, 2016), https://www.us-
cert.gov/ncas/alerts/TA14-212A.


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known about the elementary infirmities associated with its security systems, it still failed to make

necessary changes to its security practices and protocols, and permitted massive malware

intrusions to occur for months on end.

        63.    Dickey’s, at all times relevant to this action, had a duty to Plaintiff and members

of the class to: (a) properly secure Card Information submitted to or collected at Dickey’s

locations and on Dickey’s internal networks; (b) encrypt Card Information using industry

standard methods; (c) use available technology to defend its systems from well-known methods

of invasion; (d) act reasonably to prevent the foreseeable harms to Plaintiff and class members,

which would naturally result from Card Information theft; and (e) promptly notify customers

when Dickey’s became aware of the potential that customers’ Card Information may have been

compromised.

        64.    Dickey’s permitted customers’ Card Information to be compromised by failing to

take reasonable steps against an obvious threat.

        65.    In addition, leading up to the Data Breach, during the breach itself, and during the

investigation that followed, Dickey’s failed to follow the guidelines set forth by the FTC.

        66.    Industry experts are clear that a data breach is indicative of data security failures.

Indeed, industry-leading research and advisory firm Aite Group has identified that: “If your data

was stolen through a data breach that means you were somewhere out of compliance” with

payment industry data security standards.22

        67.    The Data Breach is particularly egregious and its data security failures are

particularly alarming given that the breach reportedly resulted in at least 3 million cards being



22
  Lisa Baertlein, Chipotle Says Hackers Hit Most Restaurants in Data Breach, REUTERS (May
26, 2017), http://www.reuters.com/article/us-chipotle-cyber-idUSKBN18M2BY.


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stolen and illegally placed for sale on the dark web, and because the Data Breach was permitted

to occur for over 13 months at 156 locations. Clearly, had Dickey’s utilized adequate data

security and data breach precautions, the window of the Data Breach would have been

significantly mitigated, and the level of impact could have been reduced, had the breach been

permitted to happen at all in the first place.

        68.      One commentator in the data security industry noted as to a previous, unrelated

data breach:

         2 million cards on sale on the dark web would indicate this was a very
         successful project for the cybercriminals involved, and one which is likely to be
         incredibly profitable. POS-malware breaches happen in the US with alarming
         regularity, and businesses should be well aware that they need to not only
         protect their central networks but also need to account for physical locations as
         well. . . . Moving forward, financial institutions should consider implementing a
         system of two-factor authentication in conjunction with a passive biometric
         solutions in order to mitigate the entirely avoidable outcomes of security
         incidents such as this.23

        69.      With more than 3 million cards reportedly stolen in the Dickey’s breach, this

clearly marks a highly successful outing for criminals and a large failure on Dickey’s part as to

data security.

        70.      As for the criminals purchasing the card data stolen in the Data Breach, they are

also reportedly enjoying high levels of success with making fraudulent purchases. An article

from the data privacy and cyber security internet newsgroup CPO Magazine indicates that

Joker’s Stash “is advertising a ‘valid rate’ of 90 to 100%, indicating that Dickey’s has only just




23
    Cyber Attack on Earl Enterprises (Planet Hollywood), isBuzznews (Apr. 1, 2019),
https://www.informationsecuritybuzz.com/expert-comments/cyber-attack-on-earl-enterprises-
planet-hollywood/.


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become aware of the breach.” In other words, Joker’s Stash is currently promising purchasers of

stolen Dickey’s payment card data “that at least 90% of them [are] functional.”24

        71.    Because payment card data breaches involving malware are so common, and

given the high level of data security measures available to companies that take customer payment

information in, like Dickey’s, there is no reason why Dickey’s could not have adequately

protected its systems and servers from the Data Breach.

        72.    As a result of the events detailed herein, Plaintiff and class members suffered

actual, palpable fraud and losses resulting from the Data Breach, including: financial losses

related to the purchases made at Dickey’s that Plaintiff and class members would not have made

had they known of Dickey’s careless approach to cybersecurity; lost control over the value of

personal information; unreimbursed losses relating to fraudulent charges; losses and fees relating

to exceeding credit and debit card limits, balances, and bounced transactions; harm resulting

from damaged credit scores and information; loss of time and money resolving fraudulent

charges; loss of time and money obtaining protections against future identity theft; and other

harm resulting from the unauthorized use or threat of unauthorized use of stolen Card

Information.

        73.    These costs and expenses will continue to accrue as additional fraud alerts and

fraudulent charges occur and are discovered.




24
  Scott Ikeda, Three Million Credit Cards Harvested and Sold on Joker’s Stash; Dickey’s BBQ
Hack Undetected for Over a Year, CPO MAGAZINE (Oct. 19, 2020),
https://www.cpomagazine.com/cyber-security/three-million-credit-cards-harvested-and-sold-on-
jokers-stash-dickeys-bbq-hack-undetected-for-over-a-year/.


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        74.    Furthermore, the Card Information stolen from Dickey’s locations can be used to

drain debit card-linked bank accounts, make “clone” credit cards, or to buy items on certain less-

secure websites.

        75.    To date, and as made clear in the Krebs Report, Dickey’s does not appear to be

taking any real measures to assist affected customers. In the first place, it has barely shared any

information about the Data Breach, leaving victims of the breach in the dark and vulnerable to

continued fraud. All that Dickey’s has done to assist impacted customers is to offer this sage

advice: “We understand that payment card network rules generally provide that individuals who

timely report unauthorized charges to the bank that issued their card are not responsible for those

charges.”25

        76.    These “suggestions” make it clear that Dickey’s is shifting the responsibility for

the Data Breach to consumers, rather than taking real steps to assist its customers in protecting

against the fraud to which Dickey’s exposed them. Upon information and belief, to date,

Dickey’s is not offering credit monitoring or identity theft insurance to customers impacted by

the Data Breach.

        77.    Only now, after the damage from the Data Breach has already occurred, does it

appear that Dickey’s is taking some steps to attempt to sure up its point of sale (“POS”) systems.

Indeed, it has published job listings as of November 16, 2020 for POS Implementation Trainer

and POS Installer & Support Technician positions on LinkedIn.26



25
  See Breach at Dickey’s BBQ Smokes 3M Cards, KREBSONSECURITY, supra note 1.
26
  See
https://www.linkedin.com/jobs/view/2296561058/?alternateChannel=search&refId=w6Zkq53Hi
uk0%2BuPHdDEpbw%3D%3D&trackingId=UgN6MGv0nNcQ98JoaNh3Tg%3D%3D&trk=fla
gship3_search_srp_jobs&lipi=urn%3Ali%3Apage%3Ad_flagship3_search_srp_jobs%3Bofaejm
spRvqK%2BDrxXQLpbA%3D%3D (last visited Nov. 16, 2020);


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       78.     Dickey’s failure to adequately protect its customers’ Card Information has

resulted in consumers having to undertake various errands (e.g., obtaining credit monitoring,

checking credit reports, etc.) that require extensive amounts of time, calls, and, for many of the

credit and fraud protection services, payment of their own money. At the same time, Dickey’s is

doing nothing to assist those affected by the Data Breach and has withheld important details

about the Data Breach as it conducts its investigation. Instead, Dickey’s is putting the burden on

the consumer to discover possible fraudulent transactions.

                            IV.    CLASS ALLEGATIONS

       79.     Plaintiff brings this action individually and on behalf of the following class and

pursuant to Fed. R. Civ. P. 23:

       80.     All persons who used a credit card or debit card at a Dickey’s location that was

impacted by the Data Breach during the period in which Dickey’s systems were exposed to the

Data Breach.


       81.     Excluded from the class is Dickey’s, its affiliates, officers, directors, assigns,

successors, and the Judge(s) assigned to this case. Plaintiff reserves the right to modify, change,

or expand the definition of the class based on discovery and further investigation.

       82.      Numerosity: While the precise number of class members has not yet been

determined, members of the class are so numerous that their individual joinder is impracticable,

as the proposed class appears to include approximately 3 million members who are




https://www.linkedin.com/jobs/view/2293333127/?alternateChannel=search&refId=w6Zkq53Hi
uk0%2BuPHdDEpbw%3D%3D&trackingId=Dx6SNnzh9C5e9OTC%2FETVEA%3D%3D&trk
=flagship3_search_srp_jobs&lipi=urn%3Ali%3Apage%3Ad_flagship3_search_srp_jobs%3Bef
V8XLTdQOmPgCKr3R8jRw%3D%3D (last visited Nov. 16, 2020).


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geographically dispersed. Upon information and belief, the Data Breach affected millions of

consumers across the United States.

       83.      Typicality: Plaintiff’s claims are typical of class members’ claims. Plaintiff and

all class members were injured through Dickey’s uniform misconduct. The same event and

conduct that gave rise to Plaintiff’s claims are identical to those that give rise to the claims of

every other class member because Plaintiff and each class member had their sensitive data and

Card Information compromised in the same way by the same conduct by Dickey’s.

       84.      Adequacy: Plaintiff is an adequate representative of the class because Plaintiff’s

interests do not conflict with the interests of the class that she seeks to represent; Plaintiff has

retained counsel that are competent and highly experienced in class action litigation, including

data breach cases in particular; and Plaintiff and Plaintiff’s counsel intend to prosecute this

action vigorously. The interests of the class will be fairly and adequately protected by Plaintiff

and her counsel.

       85.     Superiority: A class action is superior to other available means of fair and

efficient adjudication of the claims of Plaintiff and the class members. The injury suffered by

each individual class member is relatively small in comparison to the burden and expense of

individual prosecution of complex and expensive litigation. It would be very difficult if not

impossible for class members individually to effectively redress Dickey’s wrongdoing. Even if

class members could afford such individual litigation, the court system could not. Individualized

litigation presents a potential for inconsistent or contradictory judgments. Individualized

litigation increases the delay and expense to all parties, and to the court system, presented by the

complex legal and factual issues of the case. By contrast, the class action device presents far




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fewer management difficulties and provides the benefits of single adjudication, economy of

scale, and comprehensive supervision by a single court.

       86.      Existence and Predominance of Common Questions of Fact and Law:

Common questions of law and fact exist as to Plaintiff and all class members. These questions

predominate over the questions affecting individual class members. These common legal and

factual questions include, but are not limited to, the following:

         •   whether Dickey’s engaged in the wrongful conduct alleged herein;

         •   whether Dickey’s owed duties to Plaintiff and members of the class to protect their

             Card Information and to provide timely and accurate notice of the Data Breach to

             Plaintiff and the class, and whether it breached these duties;

         •   whether Dickey’s violated federal and state laws as a result of the Data Breach;

         •   whether Dickey’s knew or should have known that its computer and network

             systems were vulnerable to attacks from hackers and cyber-criminals;

         •   whether Dickey’s conduct was the proximate cause of the breach of its computer

             and network systems resulting in the theft of customers’ Card Information;

         •   whether Dickey’s wrongfully failed to inform Plaintiff and members of the class

             that it did not maintain computer software and other security procedures and

             precautions sufficient to reasonably safeguard consumers’ sensitive financial and

             personal data;

         •   whether Dickey’s failed to inform Plaintiff and the class of the Data Breach in a

             timely and accurate manner;

         •   whether Dickey’s has taken adequate preventive and precautionary measures to

             ensure the Plaintiff and class members will not experience further harm;



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         •      whether Plaintiff and members of the class suffered injury as a proximate result of

                Dickey’s conduct or failure to act; and

         •      whether Plaintiff and the class are entitled to recover damages, equitable relief, and

                other relief, and the extent of the remedies that should be afforded to Plaintiff and

                the class.

       87.        Dickey’s has acted or refused to act on grounds generally applicable to Plaintiff

and the other members of the class, thereby making appropriate final injunctive relief and

declaratory relief with respect to the class as a whole.

       88.        Given that Dickey’s has engaged in a common course of conduct as to Plaintiff

and the class, similar or identical injuries and common law and statutory violations are involved,

and common questions outweigh any potential individual questions.

       89.        The class is defined in terms of objective characteristics and common

transactional facts; namely, the exposure of sensitive Card Information to cyber criminals due to

Dickey’s failure to protect this information, adequately warn the class that it lacked adequate

data security measures, and failure to adequately warn that it was breached. Class membership

will be readily ascertainable from Dickey’s business records, and/or from records of third parties.

       90.        Plaintiff reserves the right to revise the above class definitions and any of the

averments of fact herein based on facts adduced in discovery.

                                V.     CAUSES OF ACTION

                                             COUNT I
                                         NEGLIGENCE
                                (On Behalf of Plaintiff and the Class)

       91.        Plaintiff realleges and incorporates all previous allegations as though fully set

forth herein.



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       92.     Dickey’s collected Card Information from Plaintiff and class members in

exchange for its sale of food and other services at its impacted locations.

       93.     Dickey’s owed a duty to Plaintiff and the class to maintain confidentiality and to

exercise reasonable care in safeguarding and protecting their financial and personal information

in Dickey’s possession from being compromised by unauthorized persons. This duty included,

among other things, designing, maintaining, and testing Dickey’s networks and data security

systems to ensure that Plaintiff’s and class members’ financial and personal information in

Dickey’s possession was adequately protected in the process of collection and following

collection while stored on Dickey’s systems.

       94.     Dickey’s further owed a duty to Plaintiff and class members to implement

processes that would detect a breach of its security system in a timely manner and to timely act

upon warnings and alerts, including those generated by its own security systems.

       95.     Dickey’s owed a duty to Plaintiff and class members to provide security

consistent with industry standards and requirements and to ensure that its computer systems and

networks—and the personnel responsible for them—adequately protected the financial and

personal information of Plaintiff and class members whose confidential data Dickey’s obtained

and maintained.

       96.     Dickey’s knew, or should have known, of the risks inherent in collecting and

storing Plaintiff’s and class members’ financial and personal information and the critical

importance of providing adequate security for that information.

       97.     Dickey’s conduct created a foreseeable risk of harm to Plaintiff and class

members. This conduct included but was not limited to Dickey’s failure to take the steps and

opportunities to prevent and stop the Data Breach as described herein. Dickey’s conduct also



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included its decision not to comply with industry standards for the safekeeping and maintenance

of the financial and personal information of Plaintiff and class members.

       98.       Dickey’s knew or should have known that it had inadequate computer systems

and data security practices to safeguard such information, and Dickey’s knew or should have

known that hackers would attempt or were attempting to access the personal financial

information in databases such as Dickey’s.

       99.       Dickey’s breached the duties it owed to Plaintiff and members of the class by

failing to exercise reasonable care and implement adequate security systems, protocols, and

practices sufficient to protect the medical, financial, and personal information of Plaintiff and

members of the class, as identified above. This breach was a proximate cause of injuries and

damages suffered by Plaintiff and class members.

       100.     As a direct and proximate result of Dickey’s negligent conduct, Plaintiff and class

members have been injured and are entitled to damages in an amount to be proven at trial.

                                          COUNT II
                                   NEGLIGENCE PER SE
                              (On Behalf of Plaintiff and the Class)

       101.     Plaintiff realleges and incorporates all previous allegations as though fully set

forth herein.

       102.     Pursuant to the FTC Act, 15 U.S.C. § 45, Dickey’s had a duty to provide fair and

adequate computer systems and data security practices to safeguard Plaintiff’s and class

members’ personal information.

       103.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Dickey’s, of failing to use reasonable measures to protect Card Information.



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The FTC publications and orders described above also form part of the basis of Dickey’s duty to

protect Plaintiffs’ and class members’ sensitive information.

        104.    Dickey’s violated Section 5 of the FTC Act (and similar state statutes) by failing

to use reasonable measures to protect Card Information and not complying with applicable

industry standards, including PCI DSS, as described in detail herein. Dickey’s conduct was

particularly unreasonable given the nature and amount of Card Information it collected and

stored and the foreseeable consequences of a data breach, including, specifically, the immense

damages that would result to consumers and financial institutions.

        105.    The harm that has occurred is the type of harm the FTC Act (and similar state

statutes) is intended to guard against. Indeed, the FTC has pursued numerous enforcement

actions against businesses that, as a result of their failure to employ reasonable data security

measures and avoid unfair and deceptive practices, caused the same harm as that suffered by

Plaintiff and the class.

        106.    Dickey’s had a duty to Plaintiff and class members to implement and maintain

reasonable security procedures and practices to safeguard Plaintiff’s and class members’

personal information.

        107.    Dickey’s breached its duties to Plaintiff and class members under the FTC Act

(and similar state statutes), by failing to provide fair, reasonable, or adequate computer systems

and data security practices to safeguard Plaintiff’s and class members’ financial and personal

information.

        108.    Dickey’s’ violation of Section 5 of the FTC Act (and similar state statutes) and its

failure to comply with applicable laws and regulations constitutes negligence per se.




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       109.     But for Dickey’s wrongful and negligent breach of its duties owed to Plaintiff and

class members, they would not have been injured.

       110.     The injury and harm suffered by Plaintiff and class members was the reasonably

foreseeable result of Dickey’s’ breach of its duties. Dickey’s knew or should have known that it

was failing to meet its duties and that its breach would cause Plaintiff and class members to

suffer the foreseeable harms associated with the exposure of their Card Information.

       111.     Had Plaintiff and class members known that Dickey’s did and does not adequately

protect customer Card Information, they would not have made purchases at Dickey’s locations.

       112.     As a direct and proximate result of Dickey’s negligence per se, Plaintiff and class

members have suffered harm, including loss of time and money resolving fraudulent charges;

loss of time and money obtaining protections against future identity theft; financial losses related

to the purchases made at Dickey’s that Plaintiff and class members would not have made had

they known of Dickey’s careless approach to cyber security; lost control over the value of

personal information; unreimbursed losses relating to fraudulent charges; losses relating to

exceeding credit and debit card limits and balances; harm resulting from damaged credit scores

and information; and other harm resulting from the unauthorized use or threat of unauthorized

use of stolen Card Information, entitling them to damages in an amount to be proven at trial.

                                          COUNT III
                             BREACH OF IMPLIED CONTRACT
                              (On Behalf of Plaintiff and the Class)

       113.     Plaintiff realleges and incorporates all previous allegations as though fully set

forth herein.

       114.     Plaintiff and class members who made purchases at Dickey’s locations during the

period in which the Data Breach occurred had implied contracts with Dickey’s.



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       115.    Specifically, Plaintiff and class members paid money to Dickey’s and, in

connection with those transactions, provided Dickey’s with their Card Information. In exchange,

Dickey’s agreed, among other things: (1) to provide food, gasoline, and food services to Plaintiff

and class members at its various locations; (2) to take reasonable measures to protect the security

and confidentiality of Plaintiff’s and class members’ Card Information; and (3) to protect

Plaintiff’s and class members’ personal information in compliance with federal and state laws

and regulations and industry standards.

       116.    Protection of personal information is a material term of the implied contracts

between Plaintiff and class members, on the one hand, and Dickey’s, on the other hand. Indeed,

as set forth, supra, Dickey’s recognized the importance of data security and privacy of

customers’ sensitive financial information in the privacy policy. Had Plaintiff and class members

known that Dickey’s would not adequately protect customer Card Information, they would not

have made purchases at Dickey’s locations.

       117.    Dickey’s did not satisfy its promises and obligations to Plaintiff and class

members under the implied contracts because it did not take reasonable measures to keep their

personal information secure and confidential and did not comply with the applicable laws,

regulations, and industry standards.

       118.    Dickey’s materially breached its implied contracts with Plaintiff and class

members by failing to implement adequate payment card and Card Information security

measures.

       119.    Plaintiff and class members fully performed their obligations under their implied

contracts with Dickey’s.




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       120.    Dickey’s’ failure to satisfy its obligations led directly to the successful intrusion

of Dickey’s computer servers and stored Card Information and led directly to unauthorized

parties’ access and exfiltration of Plaintiff’s and class members’ Card Information.

       121.    Dickey’s breached these implied contracts as a result of its failure to implement

security measures.

       122.    Also, as a result of Dickey’s failure to implement the security measures, Plaintiff

and class members have suffered actual damages resulting from the theft of their personal

information and remain at imminent risk of suffering additional damages in the future.

       123.    Accordingly, Plaintiff and class members have been injured as a proximate result

of Dickey’s breaches of implied contracts and are entitled to damages and/or restitution in an

amount to be proven at trial.

                                            COUNT IV
                                     UNJUST ENRICHMENT
                                (On Behalf of Plaintiff and the Class)

          124. Plaintiff realleges and incorporates paragraphs 1–89 as though fully set forth

herein.

          125. This claim is plead in the alternative to the above implied contract claim.

          126. Plaintiff and class members conferred a monetary benefit upon Dickey’s in the

form of monies paid for the purchase of food at its locations.

          127. Dickey’s appreciated or had knowledge of the benefits conferred upon them by

Plaintiff and class members. Dickey’s also benefited from the receipt of Plaintiff’s and class

members’ Card Information, as this was utilized by Dickey’s to facilitate payment to it.




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         128. The monies for food, dining, and food-related services that Plaintiff and class

members paid to Dickey’s were supposed to be used by Dickey’s, in part, to pay for the

administrative costs of reasonable data privacy and security practices and procedures.

         129. As a result of Dickey’s conduct, Plaintiff and class members suffered actual

damages in an amount equal to the difference in value between their purchases made with

reasonable data privacy and security practices and procedures that Plaintiff and class members

paid for, and those purchases without unreasonable data privacy and security practices and

procedures that they received.

         130. Under principals of equity and good conscience, Dickey’s should not be permitted

to retain the money belonging to Plaintiff and class members because Dickey’s failed to

implement (or adequately implement) the data privacy and security practices and procedures that

Plaintiff and class members paid for and that were otherwise mandated by federal, state, and

local laws and industry standards.

         131. Dickey’s should be compelled to disgorge into a common fund for the benefit of

Plaintiff and class members all unlawful or inequitable proceeds received by it as a result of the

conduct and Data Breach alleged herein.

                              VI.    PRAYER FOR RELIEF

       Plaintiff, on behalf of herself and the class, respectfully requests that the Court grant the

following relief:

       A.        Certify this case as a class action pursuant to Fed. R. Civ. P. 23(a) and (b), and,

pursuant to Fed. R. Civ. P. 23(g), appoint Plaintiff as class representative and her counsel as

class counsel.




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        B.     Award Plaintiff and the class appropriate monetary relief, including actual

damages, statutory damages, punitive damages, restitution, and disgorgement.

        C.     Award Plaintiff and the class equitable, injunctive, and declaratory relief as may

be appropriate. Plaintiff, on behalf of the class, seeks appropriate injunctive relief designed to

ensure against the recurrence of a data breach by adopting and implementing best security data

practices to safeguard customers’ financial and personal information, extend credit monitoring

services and similar services to protect against all types of identity theft, especially including

card theft and fraudulent card charges, and to provide elevated credit monitoring services to

minor and elderly class members who are more susceptible to fraud and identity theft.

        D.     Award Plaintiff and the class pre-judgment and post-judgment interest to the

maximum extent allowable.

        E.     Award Plaintiff and the class reasonable attorneys’ fees and costs as allowable.

        F.     Award Plaintiff and the class such other favorable relief as allowable under law or

at equity.




Dated: November 16, 2020                  Respectfully submitted,

                                          By: /s/ Cory S. Fein
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